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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

 Case No.        2:22-cv-09203-MEMF(KS)                                      Date: February 27, 2023
 Title      Clinton Brown v. Clark R. Taylor




 Present: The Honorable:       Maame Ewusi-Mensah Frimpong


                     Kelly Davis                                            None
                     Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                 None Present                                         None Present


 PROCEEDINGS: (IN CHAMBERS) ORDER RE: Motion and Affidavit for Leave to
 Appeal In Forma Pauperis (ECF Nos. 29-30)


         On December 17, 2022, Plaintiff filed a Complaint, along with a request to proceed in
 forma pauperis in this matter (“IFP Request”). ECF Nos. 1-2. On January 24, 2023, the Court
 issued an Order denying Plaintiff’s IFP Request upon a finding that Plaintiff had the ability to
 pay the filing fees. ECF No. 9. The Court’s January 24, 2023, Order did not specify a deadline
 for Plaintiff to pay the filing fees. Accordingly, on February 13, 2023, the Court issued a minute
 order directing Plaintiff to pay the filing fees no later than five (5) days from the date of the
 Order. ECF No. 23. On February 17, 2023, Plaintiff paid the filing fees. ECF No. 24.

        Also on February 17, 2023, Plaintiff filed a motion for leave to appeal in forma pauperis
 from the Court’s January 24, 2023, Order denying Plaintiff’s original IFP Request. ECF Nos. 29-
 30.

          Pursuant to 28 U.S.C. § 1915(a)(3), “[a]n appeal may not be taken in forma pauperis if
 the trial court certifies in writing that it is not taken in good faith.” An appeal is taken in “good
 faith” where it seeks review of any issue that is “non-frivolous.” Hooker v. American Airlines,
 302 F.3d 1091, 1092 (9th Cir. 2002). “[A]n issue is frivolous if it has no arguable basis in fact or
 law.” O’Loughlin v. Doe, 920 F.2d 614, 617 (9th Cir. 1990) (citations and internal quotation
 marks omitted). The “good faith” standard is an objective one. Coppedge v. United States, 369
 U.S. 438, 444-45 (1962).


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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No.        2:22-cv-09203-MEMF(KS)                                  Date: February 27, 2023
 Title      Clinton Brown v. Clark R. Taylor


          Plaintiff’s appeal of the Court’s January 24, 2023, Order denying Plaintiff’s IFP Request
 is not taken in good faith. His arguments that the Court erred in denying Plaintiff’s IFP Request,
 either by failing to hold a hearing, improperly interpreting the applicable statute, or otherwise,
 and/or improperly found Plaintiff had not established indigency are frivolous under an objective
 standard. Accordingly, Plaintiff’s motion for leave to appeal in forma pauperis (ECF Nos. 29-30)
 is DENIED.




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                                                                 Initials of Preparer




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